       Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 1 of 16




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

RAYZA CARBALLO
                                                           CIVIL ACTION NO.
               Plaintiff,

v.

BOARD OF SUPERVISORS OF LOUISIANA
 STATE UNIVERSITY AND AGRICULTURAL
 AND MECHANICAL COLLEGE

               Defendant.


                                         COMPLAINT


       COMES NOW Plaintiff Rayza Carballo, by and through undersigned counsel, to file this

Complaint against Defendant, Board of Supervisors of Louisiana State University and Agricultural

and Mechanical College, asserting claims arising under the Equal Pay Act, 29 U.S.C. § 206(d), 1

and respectfully states the following:

                                PRELIMINARY STATEMENT

       1. Plaintiff, Rayza Carballo (hereafter, “Plaintiff” or “Ms. Carballo”), is a longtime

           employee of LSU Health Sciences Center - New Orleans (“LSUHSC-New Orleans”),

           where she has been employed since 2006.

       2. Between 2006 and 2020, Ms. Carballo’s title was Assistant Director of Administrative



1
 On March 17, 2022, Ms. Carballo filed a Charge of Discrimination with the Equal Employment
Opportunity Commission alleging gender discrimination under Title VII of the Civil Rights Act
of 1964. Ms. Carballo intends to amend this Complaint to incorporate those claims promptly after
her receipt of the Notice of Right to Sue.
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 2 of 16




   Affairs for the Department of Property & Facilities, a role in which her duties included

   responsibility as the “Fiscal Dean” of the Department of Property & Facilities.

   Beginning in January 2020, Ms. Carballo was assigned and assumed 95% of the former

   duties of retiring LSUHSC-New Orleans employee Matthew Gedge on top of her

   former duties held throughout her employment. Ms. Carballo was promoted in

   December 2020 to the position of Director of Administration and Disaster Claims and

   continues to serve in that position.

3. Throughout her employment with LSUHSC-New Orleans, including the time period

   relevant for purposes of this Complaint (beginning in March 2019 and through the

   present), Ms. Carballo has been paid substantially less than comparable male

   employees, including both the male fiscal deans of LSUHSC-New Orleans and Mr.

   Gedge.

4. In this case, Ms. Carballo seeks to enforce her rights under the Equal Pay Act. 29 U.S.C.

   § 206(d).

                                     PARTIES

5. Plaintiff, Rayza Carballo (hereinafter, “Plaintiff” or “Ms. Carballo”), is a person of the

   full age of majority, domiciled in the Parish of Orleans, State of Louisiana.

6. Defendant the Board of Supervisors of Louisiana State University and Agricultural and

   Mechanical College (“LSU”) is a constitutionally-created body with its principal place

   of business located at 3810 West Lakeshore Drive, Baton Rouge, Louisiana 70808 and

   charged with overseeing and managing the “LSU” institutions across the state, with the

   legal capacity to sue and to be sued.

7. Among the campuses LSU operates, manages, and controls is LSUHSC-New Orleans,




                                           2
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 3 of 16




   where LSU’s schools of medicine, dentistry, nursing, public health, graduate studies,

   and allied health professions are located.

8. LSU is an employer with over 500 employees engaged in commerce within the

   meaning of the Equal Pay Act.

                             JURISDICTION AND VENUE

9. This Court has personal jurisdiction over Plaintiff and Defendant.

10. This Court has jurisdiction over this proceeding under 28 U.S.C. § 1331, as Plaintiff’s

   claims arise under federal law.

11. Venue is proper in the Eastern District of Louisiana, as a substantial part of the events

   or omissions giving rise to the claim occurred in this District or otherwise in accordance

   with 28 U.S.C. § 1391.

                                              FACTS

                Background and Ms. Carballo’s Work and Compensation at
                      LSUHSC-New Orleans through January 2020

12. In 2006, Ms. Carballo began her work at LSUHSC-New Orleans as the Assistant

   Director of Administrative Affairs for the department of Property & Facilities, one of

   the largest departments at LSUHSC-New Orleans.

13. In her role as the Assistant Director of Administrative Affairs for the department of

   Property & Facilities, Ms. Carballo was responsible for developing and directing the

   department’s financial programs, including the department’s continuing budget,

   projecting expenditures and revenues for short and long term forecasts, preparing

   business plans, and reviewing and approving all financial expenditures for the

   department; developing and directing the department’s administrative program,

   including providing sound and timely advice to the Associate Vice Chancellor and



                                          3
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 4 of 16




   relieving him of all administrative matters; directing the work of the administrative

   business staff, including payroll processing for approximately 170 personnel; and

   managing the development of legal agreements.

14. Ms. Carballo’s salary at her time of hire was $68,000.

15. In Ms. Carballo’s role as the Assistant Director of Administrative Affairs for the

   Department of Property & Facilities, her duties included responsibility as the “Fiscal

   Dean” of the Department of Property & Facilities.

16. According to Chancellor’s Memorandum CM-21 – Financial Management

   Responsibility, the fiscal dean position is “the senior accounting official for the

   administrative area responsible for the overall management of the financial resources

   of the school or administrative area.”

17. In addition to Ms. Carballo, there are four other fiscal deans within LSUHSC-New

   Orleans: Ben Lousteau, Associate Dean of Fiscal Affairs for the medical school (who

   is now also serving as the Interim Vice Chancellor for Administration and Finance);

   Anthony Divincenti, Associate Dean of Fiscal Affairs for the dental school; Geremie

   Loupe, Assistant Dean of Business Affairs for the nursing school; and Joseph Lasalle,

   Assistant Dean of the school of allied health.

18. Ms. Carballo’s duties prior to Matt Gedge’s retirement, in her role as Assistant Director

   of Administrative Affairs for the Department of Property & Facilities, were equivalent

   to those of the other fiscal deans. For example, Ms. Carballo had responsibility for (a)

   financial oversight of the department, including development and management of the

   department’s annual budget, oversight of all fiscal affairs of the department,

   responsibility for advising the Dean or Associate Vice Chancellor for review and




                                          4
       Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 5 of 16




           general compliance with State, Federal, and University regulations and departmental

           administrative matters and interacting with Department heads or Directors and business

           managers to implement developed budgets and fund management; (b) administrative

           oversight of the department, including responsibility for oversight and processing of

           administrative actions which must be routed through the Dean’s office or office of the

           Associate Vice Chancellor for review and general compliance with State, Federal and

           University regulations, providing advice to the Dean or Associate Vice Chancellor on

           departmental administrative matters, and interacting with Department Heads or

           Directors and business managers to implement developed administrative programs and

           projects; (c) interacting and negotiating with FEMA, GOHSEP and other outside

           agencies and entities to defend grant, insurance, and legal claims on behalf of the

           University; (d) contracts management and the negotiation and development of

           contracts; (e) conducting and directing special projects and representing the

           Department on committees and task forces; and (f) the direct supervision of an

           administrative team.

       19. In 2015, LSUHSC-New Orleans approved a 23-step pay grade structure.

       20. In 2017, LSUHSC-New Orleans performed an Unclassified Employee Market Study

           to assess the equity of its salary structure (the “Study”). 2

       21. In or around mid-July 2017, after the Study was presented at LSUHSC-New Orleans,




2
  In the years following the Study by LSUHSC-New Orleans, three other women in leadership
roles filed suits against LSUHSC-New Orleans asserting claims of intentional pay discrimination.
See Tina Gunaldo v. Bd. of Supervisors of Louisiana State University and Agricultural and
Mechanical College, et. al., U.S. District Court, E.D. La. Case No. 2:20-cv-00154, and Katherine
Muslow and Meredith Cunningham v. Bd. of Supervisors of Louisiana State University and
Agricultural and Mechanical College, et. al., E.D. La. Case No. 2:19-cv-11793.


                                                  5
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 6 of 16




   Ms. Carballo attended a meeting in the office of John Ball, the Associate Vice

   Chancellor. In attendance at that meeting were Mr. Ball, Rosalynn Martin (then the

   Director of Human Resources Management), and Sara Schexnayder (Compensation

   Manager).

22. During the July 2017 meeting, Ms. Carballo and Mr. Ball questioned Ms. Schexnayder

   and Ms. Martin regarding the methodology used in the Study. In addition, Ms. Carballo

   asked how she and her position were evaluated relative to the Fiscal Deans. Ms.

   Schexnayder responded unambivalently that Ms. Carballo was in the same general

   category as the Fiscal Deans.

23. Nonetheless, in Ms. Carballo’s prior position of Assistant Director of Administrative

   Affairs for the Department of Property & Facilities, prior to her assumption of Mr.

   Gedge’s responsibilities, she consistently was paid less than all of the male fiscal deans

   at LSUHSC-New Orleans.

24. For example, in the spring of 2019, Ms. Carballo’s annual salary was $92,120.04,

   while, based on information provided by LSU in response to a public records request,

   the male fiscal deans’ annual salaries in the spring of 2019 were as follows: Ben

   Lousteau, $212,014.08; Anthony Divincenti, $172,010.04; Geremie Loupe,

   $116,508.00; and Joe Lasalle, $109,872.00.

                          Ms. Carballo’s Work and Compensation
                          from January 2020 through the Present

25. In an email dated September 23, 2019, John Harman, then the Vice Chancellor of

   Administration and Finance (VCAF), assigned to Ms. Carballo effective January 1,

   2020 95% of the duties of retiring employee, Matt Gedge (then the Project Manager

   for the Vice Chancellor for Administration and Finance), in addition to her then



                                         6
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 7 of 16




   existing full-time position as the Assistant Director of Administrative Affairs for the

   Department of Property & Facilities.

26. The September 2019 email stated that Ms. Carballo was assigned the following duties

   of Mr. Gedge: FEMA related responsibilities; GOHSEP related responsibilities; and

   ORM related responsibilities. A small piece of Mr. Gedge’s responsibilities—

   institutional records officer responsibilities—were assigned to another employee, Tara

   Rodrigue.

27. Since Mr. Gedge’s retirement, Ms. Carballo has performed (on top of her former duties)

   nearly all of Mr. Gedge’s former duties, including but not limited to the development

   of disaster-related grant submissions; the defense of new and amended grant

   submissions; the submission of expenses for reimbursement; the close-out of claims

   (PWs) and disasters; reporting responsibilities; and ORM coordination—non-disaster

   related.

28. Like Mr. Gedge during his employment, since his retirement, Ms. Carballo has had (a)

   primary signatory authority at the institutional level and is delegated by the Chancellor

   to certify campus-wide submittals and compliance with the FEMA and the state ORM

   regulations; (b) administrative oversight of the department, including responsibility for

   oversight and processing of administrative actions which must be routed through the

   Dean’s office or office of the Associate Vice Chancellor for review and general

   compliance with State, Federal and University regulations, providing advice to the

   Dean or Associate Vice Chancellor on departmental administrative matters, and

   interacting with Department Heads or Directors and business managers to implement

   developed administrative programs and projects; (c) financial oversight of the




                                          7
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 8 of 16




   department, including development and management of the department’s annual

   budget, oversight of all fiscal affairs of the department, responsibility for advising the

   Dean or Associate Vice Chancellor for review and general compliance with State,

   Federal, and University regulations and departmental administrative matters and

   interacting with Department heads or Directors and business managers to implement

   developed budgets and fund management; (d) financial and administrative oversight of

   LSUHSC-New Orleans’ FEMA and Governor’s Office of Homeland Security and

   Emergency Preparedness (GOHSEP) Projects and responsibility for directing the

   implementation and oversight of all federal and state disaster and property insurance

   claims campus wide; (e) responsibility for interacting and negotiating with FEMA,

   GOHSEP and other outside agencies to defend grant, insurance, and legal claims on

   behalf of the University; (f) responsibility for reporting to federal and state agencies

   regarding the status of all campus disaster and insurance projects, including responding

   to audit inquiries; (g) responsibility for contracts management and the negotiation and

   development of contracts; (h) responsibility for conducting and directing special

   projects and representing the Department on committees and task forces; and (i)

   responsibility for the direct supervision of an administrative team.

29. In addition, since assumption of Mr. Gedge’s responsibilities in January 2020, Ms.

   Carballo has remained responsible for the same fiscal dean duties that she handled prior

   to that time. For example, Ms. Carballo has responsibility for (a) financial oversight of

   the department, including development and management of the department’s annual

   budget, oversight of all fiscal affairs of the department, responsibility for advising the

   Dean or Associate Vice Chancellor for review and general compliance with State,




                                         8
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 9 of 16




   Federal, and University regulations and departmental administrative matters and

   interacting with Department heads or Directors and business managers to implement

   developed budgets and fund management; (b) administrative oversight of the

   department, including responsibility for oversight and processing of administrative

   actions which must be routed through the Dean’s office or office of the Associate Vice

   Chancellor for review and general compliance with State, Federal and University

   regulations, providing advice to the Dean or Associate Vice Chancellor on

   departmental administrative matters, and interacting with Department Heads or

   Directors and business managers to implement developed administrative programs and

   projects; (c) interacting and negotiating with FEMA, GOHSEP and other outside

   agencies and entities to defend grant, insurance, and legal claims on behalf of the

   University; (d) contracts management and the negotiation and development of

   contracts; (e) conducting and directing special projects and representing the

   Department on committees and task forces; and (f) the direct supervision of an

   administrative team.

30. Ms. Carballo’s current position of Director of Administration and Disaster Claims

   requires a Master’s degree and 10 years of experience. Likewise, according to their

   position descriptions provided in response to a public records request, the positions

   held by Ben Lousteau and Anthony Divincenti as of November 2021 required both a

   Master’s degree and 10 years of experience.

31. In contrast, according to their position descriptions provided in response to a public

   records request, the other two fiscal deans, Mr. Loupe and Mr. Lasalle’s positions

   require substantially less experience and/or education than Ms. Carballo’s position. As




                                        9
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 10 of 16




   of November 2021, Joseph Lasalle’s position required only 3 years of experience and

   Geremie Loupe’s position required only 5 years of experience and a Bachelor’s degree.

32. When 95% of Mr. Gedge’s responsibilities were assigned to Ms. Carballo, she became

   responsible for two full time equivalent (FTE) positions at LSUHSC—that of the

   Assistant Director of Administrative Affairs for the Department of Property &

   Facilities and that of the Project Manager. In other words, Ms. Carballo was (and

   remains) required to do the work of two full-time employees, work that was in fact

   done by two separate employees prior to Mr. Gedge’s retirement.

33. In the September 2019 email assigning her Matt Gedge’s duties, Mr. Harman stated

   that “[i]t will be necessary for the Office of Human Resources [Management, or

   OHRM] to re-evaluate Rayza’s and Tara’s positions as a result of the reassignment of

   these responsibilities to see if these additional responsibilities impact their existing

   classification and compensation structure.”

34. Nonetheless, between September 2019 and January 2020, to Ms. Carballo’s

   knowledge, OHRM did not re-evaluate her position or analyze whether the additional

   responsibilities impacted her existing classification and compensation.

35. Rather, Ms. Carballo assumed Mr. Gedge’s responsibilities in January 2020, LSUHSC-

   New Orleans did not increase her pay based on those additional duties.

36. Ms. Carballo then sought additional compensation based on the substantial additional

   duties.

37. In response, on February 3, 2020, Sara Schexnayder, Compensation Manager and part

   of LSU’s Office of Human Resource Management (OHRM), recommended an $800

   per month increase for six months, after which time the amount and duration of that




                                        10
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 11 of 16




   increase would be reassessed.

38. The $800 per month increase amounted to approximately 10 percent of Ms. Carballo’s

   salary.

39. The memorandum included a section entitled “Observations[,]” which stated: “If these

   duties were to become permanent, the increased scope would result in an increase of

   one grade from the current position.”

40. Following the February 3, 2020 memorandum, that temporary $800 per month pay

   increase was approved by John Harman as well as Keith Schroth, at that time LSUHSC-

   New Orleans’ Vice Chancellor of Administration and Finance, and Larry Hollier, at

   that time LSUHSC-New Orleans’ Chancellor.

41. On May 13, 2020, Ms. Carballo emailed John Harman to ask whether the additional

   $800 in monthly compensation would be extended when the original six-month period

   expired on June 30, 2020.

42. Also in May 2020, Ms. Carballo raised issues with Mr. Harman regarding the burden

   of having effectively two full-time positions—her original position as well as Mr.

   Gedge’s former responsibilities—and stressed the need for her to have accounting

   support as had been provided to Mr. Gedge in performing his responsibilities. Ms.

   Carballo has never been provided with the level of accounting support that was

   provided to Mr. Gedge.

43. In late July 2020, the additional $800.00 per month compensation was approved for six

   months and was to run through December 2020.

44. However, the additional compensation was erroneously only extended for three

   months: July, August, and September 2020. This pay increase form was signed by




                                       11
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 12 of 16




   Jennifer Crisp, Administrative Officer, Office of the Chancellor, along with Mr.

   Schroth and Mr. Hollier.

45. In October 2020, Cori Higginson, at that time LSUHSC-New Orleans’ Director of

   Human Resources, spoke with Louis Colletta, then the Chief of Staff, and

   “recommended an additional FTE to be trained in these [the additional compensation]

   responsibilities and he concurred.”

46. In November 2020, Ms. Higginson sent Mr. Colletta an email following up on the

   previous conversation and stating that the FEMA-related duties (a major portion of Mr.

   Gedge’s former duties) “should be removed from Rayza’s workload, as her duties

   currently equate to two FTEs.”

47. Ms. Carballo’s paycheck for October 2020 was short by 10 percent, as it did not include

   the additional $800.00 monthly compensation for Mr. Gedge’s former duties which

   erroneously had been adjusted for only 3 months rather than 6 months. The issue was

   only corrected when Ms. Carballo raised the issue with Ms. Higginson, Mr. Schroth,

   Mr. Ball, and Mr. Colletta.

48. In December 2020, Ms. Carballo was promoted and her job title was changed to

   Director of Administration and Disaster Claims.

49. When Ms. Carballo was promoted to Director of Administration and Disaster Claims,

   the $800.00 monthly additional pay ended and she received a pay raise amounting to

   12 percent of her salary. This brought her annual salary to $108,396.96.

50. In contrast, at his retirement, Mr. Gedge’s salary was $186,165.

51. In addition to the instances discussed above, Ms. Carballo has repeatedly requested

   review by LSU of the salary inequities as compared to Mr. Gedge as well as the male




                                         12
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 13 of 16




   fiscal deans, and has requested that her compensation, commensurate to the level of

   responsibility, be adjusted to be comparable to the salary paid to Mr. Gedge and

   retroactive to the date that she assumed his responsibilities.

52. In contrast to the small pay increases that Ms. Carballo received after assuming Mr.

   Gedge’s responsibilities, seeking additional pay, and eventually being promoted to

   Director of Administration and Disaster Claims, when male fiscal deans were promoted

   to director-level positions and/or assumed additional duties within LSUHSC-New

   Orleans, they received much larger pay increases of 30 percent or higher.

53. For example, Mr. Lousteau was promoted from a Fiscal Analyst to an Executive

   Director position in 2015 and received a 36.285 percent pay increase, and received

   another 30.51 percent pay increase due to “Expan/Upgrade Duties” in 2021.

54. Likewise, Mr. Divincenti was promoted from an Assistant Dean to an Associate Dean

   position in 2014 and received a 33.218 percent pay increase with that promotion.

55. In response to Ms. Carballo’s internal complaints regarding pay inequity as compared

   to her male colleagues, LSUHSC-New Orleans has asserted that her position is not a

   fiscal dean and that she is in the same group as “other women,” specifically including

   a female employee who does not hold fiscal dean responsibilities and whose

   responsibilities are limited to supporting, coordinating, and participating in fiscal

   matters, rather than developing and implementing them.

56. In addition, LSUHSC-New Orleans has taken the position that Mr. Gedge’s pay grade

   is not a good benchmark to compare against, that it is confident in the methodologies

   used to determine the appropriateness of Ms. Carballo’s pay, and that it will not be

   doing anything further to redress her pay equity complaints.




                                        13
Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 14 of 16




             EQUAL PAY ACT, 29 U.S.C. § 201, et seq. (“EPA”)
                             GENDER DISCRIMINATION

57. All foregoing allegations are incorporated herein by reference.

58. The Equal Pay Act (EPA) prohibits wage discrimination on the basis of sex for equal

   work on jobs of which require equal skill, effort, and responsibility, and which are

   performed under similar working conditions. 29 U.S.C. § 206(d).

59. Defendant has discriminated against Plaintiff in violation of the EPA.

60. Between March 2019 and December 2019, Defendant paid Plaintiff, and/or directed

   that Plaintiff be paid, less than similarly situated male employees performing equal

   work on jobs the performance of which require equal skill, effort and responsibility and

   which were performed under similar working conditions, including Ben Lousteau,

   Anthony Divincenti, Geremie Loupe, and Joseph Lasalle.

61. Beginning in January 2020 and continuing through the present, Defendant has paid

   Plaintiff, or directed that Plaintiff be paid, less than similarly situated male employees

   performing equal work on jobs the performance of which require equal skill, effort and

   responsibility and which are performed under similar working conditions, including

   Matt Gedge, Ben Lousteau, and Anthony Divincenti.

62. The differential in pay between Plaintiff and similarly-situated male employees was

   and is not due to any (i) a seniority system; (ii) a merit system; (iii) a system of earnings

   by quantity or quality of production; or (iv) a differential based on any other factor

   other than sex.

63. Defendant did not act in good faith and created and perpetuated gender-based wage

   discrimination in violation of the EPA.




                                          14
      Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 15 of 16




       64. The foregoing conduct constitutes a willful violation of the EPA within the meaning of

           29 U.S.C. § 255(a).

       65. As a result of Defendant’s gender-based discriminatory policies and practices, Plaintiff

           has suffered damages, including but not limited to, lost past and future income,

           compensation, and benefits.

       66. By reason of Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

           remedies available for violations of the EPA, including lost wages (including back pay,

           front pay, and benefits), liquidated damages, pre-judgment and post-judgment interest,

           attorney’s fees, costs, and all other and further relief as to this Court appears necessary

           and proper.

                                     RELIEF REQUESTED

       WHEREFORE Plaintiff requests judgment be entered against Defendant and that the

Court grant the following:

             a. A declaratory judgment that the actions, conduct, and practices of Defendant

                complained of herein violate the EPA;

             b. An injunction and order permanently enjoining Defendant from engaging in

                such unlawful conduct;

             c. An award of economic damages in an amount to be determined at trial,

                including but not limited to back pay, front pay, lost benefits, along with

                compensatory damages;

             d. An award of liquidated damages;

             e. An award of all attorney’s fees and costs incurred in litigating this action;

             f. An award of pre- and post-judgement interest; and




                                                 15
      Case 2:22-cv-00740-SM-JVM Document 1 Filed 03/22/22 Page 16 of 16




            g. Such other and further legal and/or equitable relief to which Plaintiff may be

               justly entitled.

Dated: March 22, 2022.


                                            Respectfully submitted,

                                            __/s/ Kerry A. Murphy_________________
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                                              16
